                              VACATE the order denying preliminary injunctive relief AND
                  REMAND this matter to the district court for further proceedings
                  consistent with this order.


                                                                                         ,   J.
                                                             Hardesty


                                                                                        , J.
                                                             Douglas     rest



                  CHERRY, J., concurring:
                              For the reasons stated in the SFR Investments Pool 1, LLC v.
                  U.S. Bank, N.A., 130 Nev. , 334 P.3d 408 (2014), dissent, I disagree
                  that respondent lost its lien priority by virtue of the homeowners
                  association's nonjudicial foreclosure sale. I recognize, however, that SFR
                  Investments is now the controlling law and, thusly, concur in the
                  disposition of this appeal.

                                                                                             J.
                                                             Cherry



                  cc: Hon. Timothy C. Williams, District Judge
                       Kerry R Faughnan
                       The Castle Law Group, LLP
                       Eighth District Court Clerk




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